Case 3:12-cv-02099-JST   Document 120-11   Filed 10/25/13   Page 1 of 2




                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  
                                  	  




              EXHIBIT J
10/25/13            Case 3:12-cv-02099-JST           Document  120-11
                                                           Pixart - Sales Info. Filed 10/25/13                        Page 2 of 2




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